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 6   for Morgan Stanley ABS Capital I Inc. Trust 2006-HE8 Mortgage Pass-through Certificates,
 7   Series 2006-HE8

 8                              UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEVADA
 9
     DEUTSCHE BANK NATIONAL TRUST                      Case No.: 2:17-cv-00259-GMN-NJK
10
     COMPANY, AS TRUSTEE FOR MORGAN
11   STANLEY ABS CAPITAL I INC. TRUST                  STIPULATION AND ORDER FOR
     2006-HE8 MORTGAGE PASS-THROUGH                    DISMISSAL WITH PREJUDICE
12   CERTIFICATES, SERIES 2006-HE8,
13
                   Plaintiff,
14
            vs.
15
16   SFR INVESTMENTS POOL 1, LLC; DESERT
     GREENS HOMEOWNERS ASSOCIATION,
17
               Defendants.
18   SFR INVESTMENTS POOL 1, LLC,
19
                   Counter/Cross Claimant,
20
            vs.
21
22   DEUTSCHE BANK NATIONAL TRUST
     COMPANY, AS TRUSTEE FOR MORGAN
23   STANLEY ABS CAPITAL I INC. TRUST
     2006-HE8 MORTGAGE PASS-THROUGH
24   CERTIFICATES, SERIES 2006-HE8; HSBC
25   BANK USA, NATIONAL ASSOCIATION,
     AS TRUSTEE FOR THE CERTFICIATE
26   HOLDERS OF ACE SECURITIES CORP.
     HOME EQUITY LOAN TRUST, SERIES
27   2006-NC3, ASSET BACKED PASS
28   THROUGH CERTIFICATES; PRESTON C.
     ROBINSON, an individual; CATHY


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     ROBINSON, an individual,
 1
 2                  Counter/Cross Defendants.

 3
 4          Plaintiff/Counter-Defendant, Deutsche Bank National Trust Company, as trustee for

 5   Morgan Stanley ABS Capital I Inc. Trust 2006-HE8 Mortgage Pass-through Certificates, Series

 6   2006-HE8, Defendant/Counter-claimant, SFR Investments Pool 1, LLC, and Defendant, Desert

 7   Greens Homeowners Association, by and through their undersigned attorneys, hereby stipulate

 8   to dismiss this matter and all claims with prejudice, each party shall bear its own attorney’s fees

 9   and costs.

10          IT IS SO STIPULATED.

11
     WRIGHT, FINLAY & ZAK, LLP                           LEACH KERN GRUCHOW ANDERSON
12                                                       SONG
13
     /s/ Michael S. Kelley                               /s/ Ryan W. Reed
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18   Trust 2006-HE8 Mortgage Pass-through                Homeowners Association
19   Certificates, Series 2006-HE8

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     KIM GILBERT EBRON
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     /s/ Jacqueline A. Gilbert
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     Pool 1, LLC



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 1                                                ORDER
 2          Based upon the foregoing Stipulation by and between the parties, and good cause
 3   appearing,
 4          IT IS HEREBY ORDERED that the above-referenced matter, including all remaining
 5   claims for relief thereto, by and between all Parties, are DISMISSED with prejudice.
 6          IT IS FURTHER ORDERED that all currently pending motions are DENIED as moot.
 7          The Clerk of Court is directed to close this case.
 8          DATED this ____
                        16 day of October, 2020.

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10                                                 ___________________________________
11                                                 Gloria M. Navarro, District Judge
                                                   UNITED STATES DISTRICT COURT
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